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FoR THE WESTERN DrsTRtCT oF TENNESSEE ‘
WESTERN DIVIsioN .. _. _. .
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UNITED srArEs oF AMERICA, * §§ heart iii;ili'r>i-us
Plaintiff, * Crim. No. 02-20448-D/P
V. *
.ioHN a MADrSoN, sR., and *

WILLIEANN D. MADISON,

Defendants.

 

ORDER VACATING FORECLOSURE SALE
OF 277] COLONY PARK, MEMPHIS, TENNESSEE
AND ENJOINING FUTURE FORECLOSURE PROCEEDINGS

 

Upon motion of the United States, it is hereby ORDERED, ADJUDGED, and DECREED,
pursuant to 21 U.S.C. § 853(e)(])(A), incorporated by 18 U.S.C. § 982(b)(l), that:

l . The March 29, 2005 foreclosure sale of One Parcel of Real Property Located at 2'771
ColonyPark, Memphis, Tennessee (“the Real Property”), referenced in the Substitute Trustee’s Deed
recorded by the Shelby County Register of Deeds as Instrument #05050934 and attached as Exhihit
A hereto, iS VACATED.

2. Unti] completion of the ancillary forfeiture proceedings in this case by entry of a Final
Order of Forfeiture with respect to the Real Property, Memphis First Comrnunity Bank is hereby
enjoined from proceeding With any foreclosure sale or auction of the Real Property, and from taking
any other action to hinder, obstruct, or delay the ancillary forfeiture process.

3. This Order shall not prevent Memphis First Community Bank from taking any lawful
steps under 21 U.S.C. § 853(n) to assert its mortgage claim against the Real Property at the proper

time and in the proper forum, Which is this Court.

  

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with Flule 55 and/or 32(b) FHCrP on

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IT ls so oRDERED, thisz~¢aay Of ’/">’)W , 2005.
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APPROVED:
TERRELL L. HARRIS

UniteZ States£'lorney
By: W

C ISTOPHER E. COTTEN
ssistant United States Attorney

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 382 in
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Honorable Bernice Donald
US DISTRICT COURT

